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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION AT LEXINGTON

UNITED STATES OF AMERICA,                          )
          Plaintiff,                               ) CRIMINAL NO. 5:13-123
                                                   )
v.                                                 )
                                                   )     OPINION AND ORDER
KHAALIQ ALIM OWENS,                                )
BRANDON HENDRICK JAMES PRESSLEY,                   )
THOMAS DAJUAN BROWN,                               )
DEQUAWN LAMAR HOPKINS, and                         )
LASHAWN DEWAYNE HOPKINS                            )
          Defendants.                              )

                                        ** ** ** ** **

       This matter is before the Court on motions to dismiss for lack of jurisdiction and to

change venue filed by the Defendants, each of which will be addressed below.

              I.     Defendant Owens’ pro se Motion to Dismiss for Lack of
                     Jurisdiction (DE 154)

       Defendant Owens, who has elected to represent himself in this matter, has moved to

dismiss the indictment on the basis that the federal government does not have jurisdiction

to prosecute the crimes charged in the indictment.

       The Constitution grants Congress broad authority to create federal crimes. United

States v. Comstock, 560 U.S. 126, 136 (2010). In 1798, the Supreme Court recognized that

the Constitution grants Congress the power “to create, define, and punish, crimes and

offenses, whenever they shall deem it necessary and proper by law to do so, for effectuating

the objects of the [federal] government.” United States v. Worrall, 2 U.S. 384 (1798).

Further, “[t]he fact that Kentucky has sovereignty within its boundaries does not bar the

United States from having concurrent jurisdiction to indict and prosecute [defendants] for

federal crimes occurring within those same boundaries.” United States v. Hamilton, 263

F.3d 645, 655 (6th Cir. 2001). Finally, Congress has given U.S. district courts exclusive

original jurisdiction over all offenses against the United States. 18 U.S.C. § 3231.
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       For all these reasons, Owens’ jurisdiction argument is meritless and his motion to

dismiss (DE 154) will be denied.

              II.    Motion for Change of Venue by Defendants Dequawn Lamar
                     Hopkins and LaShawn DeWayne Hopkins (DE 143)

       Defendants Dequawn and LaShawn Hopkins move to change the venue of the trial

to the Eastern District of Michigan. They make this request pursuant to Federal Rule of

Criminal Procedure 21(a) which provides that the court must transfer a matter if it finds

that “so great a prejudice against the defendant exists in the transferring district that the

defendant cannot obtain a fair and impartial trial there.”

       Defendants can request a change of venue based on either actual or presumed

prejudice. Foley v. Parker, 488 F.3d 377, 387 (6th Cir. 2007). The court cannot make a

finding of actual prejudice until after conducting voir dire. See id. (“The primary tool for

discerning actual prejudice is a searching voir dire of prospective jurors.”) The Defendants

move for a change of venue based on presumed prejudice.           Prejudice is presumed in

“extraordinary cases, where the trial atmosphere has been utterly corrupted by press

coverage.” Williams v. Bagley, 380 F.3d 932, 945 (6th Cir. 2004) (quotations and citation

omitted).

       The Defendants state that there have been numerous articles and stories in the

Lexington newspaper and other local media regarding heroin abuse and overdoses in the

region. Further, the Defendants state, the stories have described a heroin pipeline by which

the drug is brought into central Kentucky from dealers located in the Detroit region. The

Defendants argue that, because they are Detroit natives charged with trafficking heroin in

Kentucky, they will not receive a fair trial in central Kentucky. The Defendants attach

three sample articles to their motion.

       The Defendants have not met their heavy burden of demonstrating that this is one

of those rare cases in which “an inflammatory, circus-like atmosphere pervades both the

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courthouse and the surrounding community.” Foley, 488 F.3d at 387. Accordingly, the Court

cannot find presumptive prejudice.

        In the alternative, the Defendants request that the Court exclude any evidence

regarding “their state and city of origin.” The government argues that, in describing the

manner by which the alleged conspiracy operated, many witnesses will testify that multiple

trips were taken from Detroit to Lexington to distribute heroin and that the sources of

supply were located in Detroit. Thus, evidence that the Defendants were located in Detroit

will be probative of the conspiracy. Further, as discussed, the Court does not find any

evidence that the Defendants will be prejudiced simply by the jury learning that they were

located in Detroit or that they are Detroit natives. Accordingly, the Court will not exclude

such evidence. To the extent that voir dire reveals that some potential jurors will be

actually prejudiced by such information, the Defendants can move to strike those jurors

prior to trial.

                  III.   Conclusion

        For all these reasons, the Court hereby ORDERS that Defendant Owens’ motion to

dismiss for lack of jurisdiction (DE 154) and the motion for change of venue (DE 143) filed

by Defendants Dequawn and LaShawn Hopkins are DENIED.

        Dated this 10th day of February, 2014.




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